      Case: 1:18-cv-01103 Document #: 43 Filed: 06/22/18 Page 1 of 5 PageID #:208



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NAZMI A. YOUSEF,
                                                         Case No: 18-cv-01103
     Plaintiff,
v.                                                       Honorable Gary Feinerman

BANK OF AMERICA, N.A.,
BAYVIEW LOAN SERVICING, LLC, and
WIRBICKI LAW GROUP, LLC,

     Defendants.

                               JOINT INITIAL STATUS REPORT
         Pursuant to Fed. R. Civ. P. 26(f) and this Court’s standing order, the parties submit the

following Joint Initial Status Report.

A. NATURE OF THE CASE

         1. Attorneys of Record
             Plaintiff Nazmi A. Yousef (“Yousef”):
                  Ross M. Zambon
                  Zambon Law, Ltd. (of counsel Sulaiman Law Group, Ltd.)

                  Nick Wooten
                  Nick Wooten, LLC (lead trial counsel)
              Defendants Bank of America, N.A. (“BANA”) and
              Bayview Loan Servicing, LLC (“Bayview”):
                  James V. Noonan (lead trial counsel)
                  Solomon Maman
                  Robert E. Haney
                  Noonan & Lieberman, Ltd.
              Defendant BANA:
                  David F Pustilnik
                  Winston & Strawn LLP (lead trial counsel to be determined)
              Defendant Wirbicki Law Group, LLC (“Wirbicki”):
                  Thomas Joseph Cassady
                  Wirbicki Law Group, LLC (lead trial counsel to be determined)


                                                  1
Case: 1:18-cv-01103 Document #: 43 Filed: 06/22/18 Page 2 of 5 PageID #:209



  2. Basis for Jurisdiction

    Yousef has federal claims under the Fair Debt Collection Practices Act (“FDCPA”),
    15 U.S.C. § 1692k, and the Real Estate Settlement Procedures Act (“RESPA”), 15
    U.S.C. § 2614, to support subject matter jurisdiction under 28 U.S.C. §§ 1331 & 1337.
    Supplemental jurisdiction exists for the state law breach of contract and Illinois
    Consumer Fraud and Deceptive Business Practices Act (“ICFA”) claim pursuant to 28
    U.S.C. § 1367.

  3. Nature of Claims & Amount of Damages

    Yousef’s FDCPA, ICFA, and breach of contract claims are founded upon allegations
    that Defendants employed unfair and deceptive debt collection practices related to
    Yousef’s home mortgage loan account. Yousef alleged that, after he entered into a
    loan modification in January 2015, cured the default, and made all required loan
    modification payments, Defendants continued to treat Yousef’s loan account as if it
    were in default and misapplied the payments – as if no loan modification existed. In
    the middle of 2017, after accepting more than two years of modification payments,
    Defendants began rejecting Yousef’s payments, threatened Yousef with litigation, and
    actually filed a foreclosure action against Yousef in Illinois state court, again failing to
    acknowledge the operative loan modification.

    Yousef’s RESPA claims are founded upon allegations that Defendants did not timely
    investigate or properly respond to Yousef’s written disputes known as “Notices of
    Error” and “Requests for Information.” These disputes largely addressed Defendants’
    misapplication of payments, improper charges and fees, and failure to service the
    account in accordance with the loan modification.

    Defendants have not raised any counterclaims.

    Amount of Damages and Relief Sought

    Yousef seeks his actual damages, statutory damages (FDCPA & RESPA), punitive
    damages (ICFA), as well as attorneys’ fees and costs.

    The major damages categories (actual and punitive) are unliquidated and Yousef’s
    counsel generally requests damages in an amount as the jury deems proper and may
    award.




                                            2
   Case: 1:18-cv-01103 Document #: 43 Filed: 06/22/18 Page 3 of 5 PageID #:210



      4. Whether Defendants Will Answer the Complaint

        All Defendants have answered the complaint.

      5. The Principal Legal and Factual Issues

        Whether Defendants breached any contract with Yousef or committed any statutory
        violations of FDCPA, ICFA or RESPA. Whether Yousef sustained any damages and,
        if so, the nature and the amount of such damages.

      6. Service of Process

        All Defendants have been served with process.

B. PROCEEDINGS TO DATE

      1. Summary of Substantive Rulings

         None.

      2. Description of Pending Motions

         None.

C. DISCOVERY AND CASE PLAN

      1. Summary of Discovery That Has Already Occurred

         Yousef and Defendants have submitted their MIDP initial written disclosures and
         document production.

      2. Whether discovery will encompass ESI & the Parties Plan

         Yousef anticipates ESI will be encompassed in the form of records from Bayview and
         BANA’s mortgage servicing platform as well as electronic communications among
         Defendants’ employees and agents regarding the mortgage loan account and the
         actions of Defendants while servicing Yousef’s mortgage loan account.




                                            3
   Case: 1:18-cv-01103 Document #: 43 Filed: 06/22/18 Page 4 of 5 PageID #:211



     3. Proposed Scheduling Order

        26(a)(1) disclosures – The parties are operating under the MIDP and have submitted
        their initial written disclosures and document production. Proposed scheduling order:
           Issue written discovery – July 23, 2018
           Complete written discovery – September 23, 2018
           Depositions to commence – September 23, 2018
           Depositions to be completed by – November 23, 2018
           Whether discovery should proceed in phases – Yes
           The parties are unsure if expert discovery will be needed and suggest a status
           hearing after the close of fact discovery to address expert discovery.
           Dispositive motion cutoff (if expert discovery is waived):
                   Deadline for amending pleadings and adding parties – December 23, 2018
                   File Dispositive motions – January 23, 2018
           Dispositive motion cutoff (with expert discovery):
                   Deadline for amending pleadings and adding parties – December 23, 2018
                   Rule 26(a)(2) disclosures for Plaintiff – January 23, 2018
                   Plaintiff’s expert deposition(s) completed by – February 23, 2018
                   Defendants’ expert disclosures to Plaintiff – March 23, 2018
                   Defendants’ expert depositions completed by – April 23, 2018
                   Dispositive motions filed by May 23, 2018

     4. Jury Demand

           Yousef has requested a jury trial.

     5. Estimated Length of Trial

           Yousef has requested a jury trial. The anticipated length of the trial is 6 days.

D. SETTLEMENT

           Yousef and Defendants have exchanged counteroffers and working towards a
           global settlement. The Parties do not request a settlement conference at this time.




                                                4
    Case: 1:18-cv-01103 Document #: 43 Filed: 06/22/18 Page 5 of 5 PageID #:212



E. MAGISTRATE JUDGE

      1. Whether the Parties Consent to Proceed Before a Magistrate Judge
             The parties have not unanimously consented to proceed before a magistrate.
      2. Any Matters Already Referred to the Magistrate Judge
             None.

Submitted by:

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                                             5
